AMERICAN TOBACCO CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.American Tobacco Co. v. CommissionerDocket Nos. 38773, 46660.United States Board of Tax Appeals20 B.T.A. 586; 1930 BTA LEXIS 2083; August 25, 1930, Promulgated *2083  GAIN. - Where petitioner issued its bonds at par and subsequently purchased some of them on the open market at less than par and retired them, the difference between the par value and purchase price at which they were retired is not taxable as income.  J. Marvin Haynes, Esq., and W. C. Magathan, Esq., for the petitioner.  Harold Allen, Esq., and W. R. Lansford, Esq., for the respondent.  BLACK *586  These cases were consolidated for hearing and decision and were submitted on agreed stipulations of fact, which we adopt.  Deficiencies were determined as follows: Docket No. 38773, for 1924, $1,046.56; for 1925, $1,173.51; Docket No. 46660, for 1927, $176.18.  There is only one issue, and it is common to both cases and for each *587  of the taxable years, and is whether the petitioner realized a taxable gain from the purchase of its own bonds and their retirement at less than their par value, at which price they were issued by the petitioner.  FINDINGS OF FACT.  For Docket No. 38773, the stipulated facts, so far as pertinent, are: The petitioner is a New Jersey corporation with its principal office in New York, N.Y.On January 1, 1924, petitioner*2084  had outstanding $1,072,700 of bonds issued by it for cash at par.  At various times during the year 1924 it purchased for cash on the open market and retired $50,500 par value of these 4 per cent bonds, paying therefor $42,127.50.  During the year 1925 petitioner purchased on the open market and retired $60,100 par value of the 4 per cent bonds described in the foregoing paragraph, paying therefor $51,073.  In reporting its net taxable income for the year 1924 petitioner did not include as a part thereof the difference between the par value of the bonds purchased by it, as described in paragraph 2 hereof, and the cash cost of such bonds, at which they were retired, said difference being $8,372.50.  In reporting its net taxable income for the year 1925 petitioner did not include as a part thereof the difference between the par value of the bonds purchased by it for cash, as described in paragraph 3 hereof, and the purchase price of such bonds, at which they were retired, said difference being $9,027.  For Docket No. 46660, the stipulated facts, so far as pertinent, are: On January 1, 1927, petitioner had outstanding $888,250 of 4 per cent bonds issued by it for cash at par. *2085  At various times during the year 1927 it purchased for cash on the open market and retired $11,000 par value of these bonds, paying therefor $9,695.  In reporting its net taxable income for the year 1927 petitioner did not include as a part thereof the difference between the par value of the bonds purchased by it for cash as described in paragraph 2 hereof and the purchase price for cash of such bonds in the year of their retirement, said difference being $1,305.  For the year 1924 petitioner reported $17,718,005.07 net income and paid the tax thereon, and in his final determination respondent has added thereto $8,372.50, "Discount on Bonds Retired." For the year 1925 petitioner reported $19,527,501.81 net income and paid the tax thereon, and respondent in his final determination has *588  added thereto $9,027, "Discount on Bonds Retired." For the year 1927 petitioner reported $20,717,244.29 net income and paid the tax thereon, and respondent in his final determination added "Interest on income tax refunded $800,690.24," and "Discount on Bonds Purchased," $1,305.  Petitioner acquiesced in the addition of $800,690.24 interest on tax refunded and paid the tax thereon, but*2086  contests the item of $1,305, "Discount on Bonds Purchased." It is upon these additions of "Discount on Bonds Purchased," which represent the difference between the issuing cash price of petitioner's bonds and the amount paid therefor on their retirement, that the proposed deficiencies are based.  OPINION.  BLACK: The respondent held that, when petitioner purchased its own bonds for less than par on the open market and retired same during the years when purchased, the difference between the issuing price and the price paid for them for retirement represented taxable gain or income.  The Board has considered this question in a number of cases, both where a corporation purchased its own bonds for investment and where it purchased them for retirement, and, following , has held that the difference between the issuing price at which said bonds were sold and the price for which they were purchased by the corporation does not represent taxable gain to the corporation.  ; *2087 ; ; ; ; ; ; ; ; ; ; . Under the authority of the cases above cited, we hold that the respondent erred in determining that petitioner realized a taxable gain upon the purchase and retirement of the bonds involved in these proceedings.  Judgment will be entered for the petitioner that there is no deficiency.